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                         UNITED STATES COURT OF APPEALS
                                       FOR THE
                                  SECOND CIRCUIT
                    ______________________________________________

        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
14th day of August, two thousand and seventeen.

Before:     John M. Walker, Jr.,
            Debra A. Livingston,
            Gerard E. Lynch,
                   Circuit Judges.
_______________________________________

Hermés of Paris, Inc.,
                                                           JUDGMENT
              Petitioner - Appellee,                       Docket No. 16-3182

v.

Matthew Swain,

           Respondent - Appellant.
_______________________________________

        The appeal in the above captioned case from a judgment of the United States District Court
for the Southern District of New York was argued on the district court’s record and the parties’
briefs. Upon consideration thereof,

        IT IS HEREBY ORDERED, ADJUDGED and DECREED that the judgment of the district
court is AFFIRMED.

                                             For The Court:

                                             Catherine O=Hagan Wolfe,
                                             Clerk of Court
